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                                      United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

 WAPP TECH LIMITED PARTNERSHIP                             §
 and WAPP TECH CORP.                                       §
                                                           §     Civil Action No. 4:18-CV-00469
 v.                                                        §     Judge Mazzant
                                                           §
 MICRO FOCUS INTERNATIONAL, PLC                            §


                              MEMORANDUM OPINION AND ORDER

         Pending before the Court is Plaintiffs Wapp Tech Limited Partnership and Wapp Tech

Corp.’s Motion: (1) to Strike Defendant Micro Focus International, PLC’s Supplemental Brief

Regarding the Motion to Dismiss for Lack of Personal Jurisdiction; and (2) for Clarification of the

Court’s Prior Order (Dkt. #41). Having considered the motion and relevant pleadings, the Court

denies Plaintiffs’ motion to strike and provides clarification of its prior order.

                                                BACKGROUND

  I.     Motion to Dismiss

         Plaintiffs filed this suit on July 2, 2018, alleging patent infringement of United States Patent

Nos. 9,971,678, 9,298,864, and 8,924,192 (Dkt. #1).1 On October 17, 2018, Defendant filed a

motion to dismiss (Dkt. #12). Defendant moves to dismiss Plaintiffs’ Complaint arguing: (1) the

Court lacks personal jurisdiction over Defendant and (2) Plaintiffs failed to properly serve

Defendant. Plaintiffs filed a response to Defendant’s motion on November 1, 2018 (Dkt. #15).

Defendant filed a reply to the motion on November 8, 2018 (Dkt. #16). Defendant’s motion

remains pending.



1. Plaintiffs filed four substantially similar cases in this Court. See Wapp Tech Ltd. P’ship v. Hewlett-Packard Enter.
Co., 4:18-CV-468-ALM; Wapp Tech Ltd. P’ship v. Wells Fargo & Co., 4:18-CV-501-ALM; Wapp Tech Ltd. P’ship
v. Bank of Am. Corp., 4:18-CV-519-ALM.
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 II.   Jurisdictional Discovery

       After a careful review of Defendant’s motion to dismiss, the Court ordered the parties to

conduct jurisdictional discovery on December 20, 2018:

               The Court ORDERS the parties to engage in limited jurisdictional
               discovery to determine whether the Court may exercise personal
               jurisdiction over Defendant. Within fifteen (15) days of this Order,
               Plaintiffs shall serve on Defendant discovery requests intended to
               determine whether Defendant is subject to personal jurisdiction.
               Defendant shall have fifteen (15) days from the receipt of Plaintiffs’
               discovery requests to respond. The parties shall have fifteen (15)
               days from the date Defendant responds to Plaintiffs’ discovery
               requests to supplement or amend the pleadings.

(Dkt. #17 at p. 5) (emphasis in original). This 45-day period expired on February 3, 2019.

       As the parties engaged in jurisdictional discovery, a discovery dispute arose. Accordingly,

on January 16, 2019, Defendant filed a Motion for Protective Order (Dkt. #18). Defendant

requested a protective order because it believed Plaintiffs’ jurisdictional discovery requests were

(1) improperly broad; (2) related to piercing the veil—a theory not previously asserted by

Plaintiffs; and (3) were irrelevant as they related to the merits of the case, not to jurisdiction

(Dkt. #18 at pp. 12–18). The parties filed a response and reply to the motion (Dkt. #19; Dkt. #22).

The Court denied Defendant’s motion for protective order finding, “Overall, [Defendant] cannot

argue that the contacts cited by [Plaintiffs] are attributable only to its subsidiaries and

simultaneously contend that [Plaintiffs are] not entitled to explore [Defendant’s] relationship with

these subsidiaries.” (Dkt. #24 at p. 4). As a result, on February 7, 2019, the Court ordered:

               The parties shall complete jurisdictional discovery with twenty-one
               (21) days of this order—February 28, 2019. The parties shall
               amend or supplement the briefing related to [Defendant’s] motion
               to dismiss within eight (8) days of completing jurisdictional
               discovery—March 8, 2019.

(Dkt. #24 at pp. 4–5) (emphasis in original).



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III.    Amended Complaint, Supplemental Briefing, and Motion to Strike

        On March 8, 2019, the parties filed supplemental briefing on Defendant’s motion to dismiss

pursuant to the Court’s February 7 order (Dkt. #30; Dkt. #32). On the same day, without seeking

leave of court, Plaintiffs filed an Amended Complaint adding five additional parties—Seattle

SpinCo Inc., EntIT Software LLC, EntCo Interactive (Israel) Ltd., Entco Government Software

LLC, and Micro Focus (US) Inc. (Dkt. #28 ¶¶ 7–11).

        On March 12, 2019, without seeking leave of court, Defendant filed a reply to Plaintiffs’

supplemental briefing (Dkt. #36).2 The next day, Plaintiffs filed the motion at issue (Dkt. #41).

Defendant filed a response to Plaintiffs’ motion to strike the same day (Dkt. #42).

                                                ANALYSIS

        Plaintiffs seek (1) to strike Defendant’s reply to Plaintiffs’ supplemental briefing and (2)

for clarification of the Court’s February 7 order (Dkt. #41 at pp. 3–6). As cited above, the Court’s

February 7 order reads:

                 The parties shall complete jurisdictional discovery with twenty-one
                 (21) days of this order—February 28, 2019. The parties shall
                 amend or supplement the briefing related to [Defendant’s] motion
                 to dismiss within eight (8) days of completing jurisdictional
                 discovery—March 8, 2019.

(Dkt. #24 at pp. 4–5) (emphasis in original).

        In their motion to strike, Plaintiffs simultaneously construe the Court’s order in opposite

directions. On the one hand, Plaintiffs seek to adopt a strict interpretation of the Court’s Order as

it relates to Defendant failing to seek leave of court before filings its reply:

                 In accordance with [the Court’s February 7 order] both parties
                 submitted significant briefing on March 8th. The February 7th
                 Order did not contemplate or allow for any further briefing after
                 March 8th. Thus, “[a]bsent leave of court, no further submissions

2. Defendant titles the filing, “Defendant Micro Focus International PLC’s Response to Wapp’s Supplemental Brief
Regarding the Motion to Dismiss . . . .” (Dkt. #36). The Court labels this filing a “reply” to avoid confusion.

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               on the motion are allowed.” (Local Rule CV-7(f).) Yesterday
               [(March 12, 2019)], however, [Defendant] filed the eleven-page
               Post-Briefing Reply (D.I. 36), which raised substantial new
               arguments.

(Dkt. #41 at p. 3).    In other words, as the Court’s order did not specifically contemplate

Defendant’s reply, and because Defendant did not seek leave of court to file the reply, Plaintiffs

argue the Court should strike Defendant’s reply.

       On the other hand, Plaintiffs seek to adopt a liberal interpretation of the Court’s Order as

it relates to Plaintiffs’ failure to seek leave of court before filing their Amended Complaint:

               In the untimely Post-Briefing Reply, [Defendant] accuses
               [Plaintiffs] of improperly filing [their] First Amended Complaint
               (D.I. 28) without having sought leave. The Court’s February 7th
               Order, however, specifically mentions that the parties “shall amend
               or supplement the briefing.” As it did not make sense to “amend”
               the briefing, [Plaintiffs] understood this directive as allowing for
               [Plaintiffs] to amend [their] Complaint if [they] learned through the
               jurisdictional discovery that the named parties should be changed in
               some way.

(Dkt. #41 at p. 4). In other words, because amending their brief “did not make sense” to Plaintiffs,

and as Plaintiffs read the word “briefing” as “pleading,” Plaintiffs believed they were not required

to seek leave of court to file their Amended Complaint.

  I.   Defendant’s Reply

       The Court’s order did not contemplate replies to the parties’ supplemental briefing.

Defendant explains why it filed the reply, but does not state why it did not seek leave of court

before filing the reply:

               Because [Plaintiffs’] supplemental brief was premised on new
               theories and misleading characterizations of the evidence, and
               because [Plaintiffs] improperly filed an amended pleading with its
               supplemental brief, [Defendant] believes a responsive brief is
               appropriate.

(Dkt. #42 at p. 2).

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         The Court reminds the parties to review Local Rule CV-7(f) concerning the filing of

additional briefing.3       However, the Court cannot identify any harm caused by Defendant’s

unauthorized filing of its reply. Therefore, the Court DENIES Plaintiffs’ request to strike

Defendant’s reply. Hollier v. Jefferson Cty., 1:10CV314, 2010 WL 11628652, at *2 (E.D. Tex.

Dec. 1, 2010) (stating that it is within a court’s discretion to strike a response or reply that violates

the Local Rules without seeking leave of court).

         As an alternative to striking Defendant’s reply, Plaintiffs request to file a responsive brief

to Defendant’s reply (Dkt. #41 at pp. 3–4). The issues before the Court are sufficiently briefed.

Therefore, the Court DENIES Plaintiffs’ request to file additional briefing.

 II.     Amended Complaint

         Plaintiffs next request clarification of the Court’s February 7 order (Dkt. #41 at p. 4).

Specifically, Plaintiffs ask the Court to clarify whether the order enabled Plaintiffs to file their

Amended Complaint without seeking leave of court. If the order did not allow for amended

pleadings, Plaintiffs request “leave to amend be given and will file a formal motion to that effect

if the Court so wishes.” (Dkt. #41 at p. 4).

         Although the Court’s December 20 order may have contemplated the filing of amended

pleadings without seeking leave of court, the Court’s February 7 order did not.4 Plaintiffs explain

why they did not seek leave of court before filing their Amended Complaint:

                  The Court’s February 7th Order, however, specifically mentions that
                  the parties “shall amend or supplement the briefing.” As it did not
                  make sense to “amend” the briefing, [Plaintiffs] understood this

3. “Unless otherwise directed by the presiding judge, a party who has filed an opposed motion may serve and file a
reply brief responding to the issues raised in the response within seven days from the date the response is served. A
sur-reply responding to issues raised in the reply may be served and filed within seven days from the date the reply is
served. The court need not wait for the reply or sur-reply before ruling on the motion. Absent leave of court, no
further submissions on the motion are allowed.” (emphasis added).
4. “The parties shall have fifteen (15) days from the date Defendant responds to Plaintiffs’ discovery requests to
supplement or amend the pleadings.” (Dkt. #17 at p. 5) (emphasis added). Plaintiffs did not file their Amended
Complaint within the 45 days provided by the December 20 order.

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               directive as allowing for [Plaintiffs] to amend [their] Complaint if
               [they] learned through the jurisdictional discovery that the named
               parties should be changed in some way.

(Dkt. #41 at p. 4). Accordingly, Plaintiffs Amended their Complaint and added five parties to the

lawsuit.

       There are two issues with Plaintiffs’ explanation. First, the Court—as might be expected—

finds that its order “makes sense.” Defendant also did not find the Court’s order confusing:

               [Plaintiffs] argue[ ] “it did not make sense to ‘amend’ the briefing,”
               and that [Plaintiffs] therefore interpreted the word “amend” as
               giving permission to amend the Complaint. Dkt. No. 41 at 3. Given
               the breadth and volume of discovery [Plaintiffs were] provided
               pursuant to [their] requests, there is nothing nonsensical about
               [Plaintiffs] having the opportunity to amend [their] briefing on the
               issue of personal jurisdiction, to which the discovery was directed.
               For example, if [Plaintiffs] learned during jurisdictional discovery
               that some of [their] arguments in [their] opposition brief were false,
               [they] should have amended the brief to drop those arguments.

(Dkt. #42 at p. 4). The Court did not know whether jurisdictional discovery would confirm the

parties’ initial arguments. Therefore, the Court provided the parties the opportunity to amend (i.e.,

to change or modify) or supplement (i.e., to enhance or add additional evidence to support) their

previous arguments. This interpretation of the order makes more sense than Plaintiffs’ reading of

“briefing” as “pleading.”

       Second, if the Court’s order truly confused Plaintiffs, Plaintiffs should have sought

clarification of the order before filing their Amended Complaint. Tellingly, Plaintiffs could have

sought this clarification in a motion seeking leave of court to file the Amended Complaint—

avoiding the current issue altogether.

       The Court’s order did not enable the parties to file amended pleadings without seeking

leave of court as provided by Federal Rule of Civil Procedure 15. The Court will not grant

Plaintiffs leave of court at this time because Plaintiffs do not specify why leave should be granted

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    in their motion (See Dkt. #41 at p. 4). Therefore, Plaintiffs must file a motion for leave that will

    retroactively affect the Amended Complaint. This decision also satisfies Defendant’s request for

    an “opportunity to properly oppose” Plaintiffs’ filing of the Amended Complaint (Dkt. #42 at p. 5).

                                             CONCLUSION

           The Court therefore DENIES Plaintiffs’ Motion to the extent it seeks to strike Defendant’s

    Supplemental Brief Regarding the Motion to Dismiss for Lack of Personal Jurisdiction (Dkt. #41).

.   Concerning Plaintiffs’ request for clarification, the Court ORDERS Plaintiffs to file a motion

    requesting leave of court to file their Amended Complaint within three (3) days of this order.

    Otherwise, the Court will strike the Amended Complaint.

           IT IS SO ORDERED.

           SIGNED this 6th day of June, 2019.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE




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